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    9                                     UNITED STATES DISTRICT COURT
   10                                   CENTRAL DISTRICT OF CALIFORNIA
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   12 In the Matter of FUN ZONE BOAT                              Case No. 8:19-cv-00865 DOC (DFMx)
      CO., INC., as owner of the vessel
   13 SHOWBOAT, for Exoneration From or                           JUDGMENT [35]
      Limitation of Liability
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   20            Pursuant to the Court’s Order Granting Plaintiff-in-Limitation’s Motion for
   21 Order Granting Exoneration, dated December 17, 2020, judgment is hereby entered

   22 in favor of Plaintiff-in-Limitation FUN ZONE BOAT CO., INC.

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   24

              December 18
   25 Dated: _______________, 2020                                 _______________________________
                                                                   Hon. David O. Carter
   26
                                                                   U.S. District Court Judge
   27                                                              Central District of California
   28
        JUDGMENT
        Case No. 8:19-cv-00865 DOC (DFMx); Our File No. 8005.21
